       Case 3:22-cv-00057 Document 1 Filed on 02/15/22 in TXSD Page 1 of 1
                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                 February 16, 2022
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS                        Nathan Ochsner, Clerk

                               GALVESTON DIVISION


 HONORABLE TERRY PETTEWAY et al.,             §
                                              §
 v.                                           §            3:13-CV-00308
                                              §
 GALVESTON COUNTY, TEXAS et al.,              §


                                          ORDER

       Last month, the plaintiff’s filed a motion for leave to file a supplemental

complaint. Docket 54. The proposed supplemental complaint challenges the 2021

redistricting for Galveston County Commissioners. This case involves the 2013

redistricting for Galveston County Justices of the Peace. Although this case is not yet

closed, the Court concludes that a separate redistricting cycle for separate offices is not

sufficiently related to warrant filing the new matter in this case. Redistricting cases in

different rounds of redistricting (let alone for different offices) are regularly filed as new

matters. In addition, as a practical matter the retirement of the judge assigned this

matter is imminent. The motion to file a supplemental complaint is therefore

DENIED.

       The Clerk’s Office is directed to file Documents 54, and 56-61 in a new case

opened in the Galveston Division, to be assigned as all new filings in Galveston are.

        Signed on the 15th day of February 2022.



                                              Judge of The United States Court of Appeals
                                              for the Fifth Circuit
                                              (Sitting by designation)
